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       ••                                                     EXHIBIT A

                 18 U.S. Code § 1001 - Statements or entries generally
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        ••       (a) Except as otherwise provided in this section, whoever, in any matter within the jurisdiction of
                 the executive, legislative, or judicial branch of the Government of the United States, knowingly and


         ••
                 willfully-

                 (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;


    ••           (2) makes any materially false, fictitious, or :fraudulent statement or representation; or


        ••       (3) makes or uses any false writing or document knowing the same to contain any materially false,
                 fictitious, or :fraudulent statement or entry;


     ••          shall be fined under this title, imprisoned not more than 5 years or, if the offense involves
                 international or domestic terrorism (as defined in section 2331), imprisoned not more than 8 years,
                 or both. If the matter relates to an offense under chapter 109A, 109B, 110, or 117, or section 1591,

      ••         then the term of imprisonment imposed under this section shall be not more than 8 years .



        ••       (b) Subsection (a) does not apply to a party to a judicial proceeding, or that party's counsel, for
                 statements, representations, writings or documents submitted by such party or counsel to a judge or
                 magistrate in that proceeding .

        ••       (c) With respect to any matter within the jurisdiction of the legislative branch, subsection (a) shall
                 apply only to-

       ••        (1) administrative matters, including a claim for payment, a matter related to the procurement of
                 property or services, personnel or employment practices, or support services, or a document

       ••        required by law, rule, or regulation to be submitted to the Congress or any office or officer within
                 the legislative branch; or


    ••           (2) any investigation or review, conducted pursuant to the authority of any committee,
                 subcommittee, commission or office of the Congress, consistent with applicable rules of the House


    ••           or Senate.

                 (June 25, 1948, ch. 645, 62 Stat. 749; Pub. L. 103-322, title XXXIII,-§ 330016(1)(L), Sept. 13,

    ••           1994, 108 Stat. 2147; Pub. L. 104-292, § 2, Oct. 11, 1996, 110 Stat. 3459; Pub. L. 108-458, title
                 VI,§ 6703(a), Dec. 17, 2004, 118 Stat. 3766; Pub. L. 109-248, title I,§ 141(c), July 27, 2006, 120


          ••
                 Stat. 603.)

                 18 U.S. Code § 1342 - Fictitious name or address


          ••     Whoever, for the purpose of conducting, promoting, or carrying on by means of the Postal Service,
                 any scheme or device mentioned in section 1341 of this title or any other unlawful business, uses or


        ••       assumes, or requests to be addressed by, any fictitious, false, or assumed title, name, or address or
                 name other than his own proper name, or takes or receives from any post office or authorized
                 depository of mail matter, any letter, postal card, package, or other mail matter addressed to any

           ••    such fictitious, false, or assumed title, name, or address, or name other than his own proper name,
                 shall be fined under this title or imprisoned not more than five years, or both. (June 25, 1948, ch.
                 645, 62 Stat. 763; Pub. L. 91-375, § 6(j)(12), Aug. 12, 1970, 84 Stat. 778; Pub. L. 103-322, title
    ~            XXXIII, § 330016(1)(H), Sept. 13, 1994, 108 Stat. 2147.)
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     ••                                                  EXHIBIT A



     ••    18 U.S. Code § 1341 - Frauds and swindles

           Whoever, having devised or intending to devise any scheme or artifice to defraud, or for obtaining

    ••     money or property by means of false or fraudulent pretenses, representations, or promises, or to sell,
           dispose of, loan, exchange, alter, give away, distribute, supply, or furnish or procure for unlawful
           use any counterfeit or spurious coin, obligation, security, or other article, or anything represented to

    ••     be or intimated or held out to be such counterfeit or spurious article, for the purpose of executing
           such scheme or artifice or attempting so to do, places in any post office or authorized depository for


     ••
           mail matter, any matter or thing whatever to be sent or delivered by the Postal Service, or deposits
           or causes to be deposited any matter or thing whatever to be sent or delivered by any private or
           commercial interstate carrier, or takes or receives therefrom, any such matter or thing, or knowingly


   ••      causes to be delivered by mail or such carrier according to the direction thereon, or at the place at
           which it is directed to be delivered by the person to whom it is addressed, any such matter or thing,
           shall be fined under this title or imprisoned not more than 20 years, or both. If the violation occurs


   ••      in relation to, or involving any benefit authorized, transported, transmitted, transferred, disbursed,
           or paid in connection with, a presidentially declared major disaster or emergency (as those terms are
           defined in section 102 of the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42

   ••      U.S.C. 5122)), or affects a financial institution, such person shall be fined not more than $1,000,000
           or imprisoned not more than 30 years, or both .


  ••       (June 25, 1948, ch. 645, 62 Stat. 763; May 24, 1949, ch. 139, § 34, 63 Stat. 94; Pub. L. 91-375,
           § (6)0)(11), Aug. 12, 1970, 84 Stat. 778; Pub. L. 101-73, title IX,§ 961(i), Aug. 9, 1989, 103 Stat.


   ••
           500; Pub. L. 101-647, title XXV, § 2504(h), Nov. 29, 1990, 104 Stat. 4861; Pub. L. 103-322, title
           XXV, § 250006, title XXXIII, § 330016(l)(H), Sept. 13, 1994, 108 Stat. 2087, 2147; Pub. L. 107-
           204, title IX, § 903(a), July 30, 2002, 116 Stat. 805; Pub. L. 110-179, § 4, Jan. 7, 2008, 121 Stat.


  ••       2557.)

           18 U.S. Code § 2331 - Definitions

••         As used in this chapter-


••         (1) the term "international terrorism" means activities that-

           (A) involve violent acts or acts dangerous to human life that are a violation of the criminal laws of

 ••        the United States or of any State, or that would be a criminal violation if committed within the
           jurisdiction of the United States or of any State;


••         (B) appear to be intended-



 •••
           (i) to intimidate or coerce a civilian population;

           (ii) to influence the policy of a government by intimidation or coercion; or



••         (iii) to affect the conduct of a government by mass destruction, assassination, or kidnapping; and

           (C) occur primarily outside the territorial jurisdiction of the United States, or transcend national

 ••        boundaries in terms of the means by which they are accomplished, the persons they appear intended
           to intimidate or coerce, or the locale in which their perpetrators operate or seek asylum;

~          (2) the term "nationai of the United States" has the meaning given such term in section 101(a)(22)

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        ••    of the Immigration and Nationality Act;

              (3) the term "person" means any individual or entity capable of holding a legal or beneficial interest

     ••       in property;

              (4) the term "act of war" means any act occun-ing in the course of-

   ••         (A) declared war;


       ••     (B) armed conflict, whether or not war has been declared, between two or more nations; or



 ••
              (C) armed conflict between military forces of any origin;

              (5) the term "domestic terrorism" means activities that-

      ••      (A) involve acts dangerous to human life that are a violation of the criminal laws of the United
              States or of any State;

        ••    (B) appear to be intended-


    ••        (i) to intimidate or coerce a civilian population;



   ••         (ii) to influence the policy of a government by intimidation or coercion; or

              (iii) to affect the conduct of a government by mass destruction, assassination, or kidnapping; and

     ••       (C) occur primarily within the ten-itorialjurisdiction of the United States; and


     ••       (6) the term "military force" does not include any person that-

              (A) has been designated as a-

••            (1) foreign terrorist organization by the Secretary of State under section 219 of the Immigration and


 ••
              Nationality Act (8 U.S.C. 1189); or

              (ii) specially designated global ten-orist (as such term is defined in section 594.310 oftitle 31, Code

     ••       of Federal Regulations) by the Secretary of State or the Secretary of the Treasury; or

              (B) has been determined by the court to not be a "military force" .

 ••           (Added Pub. L. 102-572, title X, § 1003(a)(3), Oct. 29, 1992, 106 Stat. 4521; amended Pub. L.
              107-56, title Vill, § 802(a), Oct. 26, 2001, 115 Stat. 376; Pub. L. 115-253, § 2(a), Oct. 3, 2018, 132

  ••          Stat. 3183.)



••
              15 U.S. Code § 78ff - Penalties

                   (a) Willful violations; false and misleading statements


•~
              Any person who willfully violates any provision of this chapter (other than section 78dd-1 of this
              title), or any rule or regulation thereunder the violation of which is made unlawful or the observance
              of which is required under the terms of this chapter, or any person who willfully and knowingly
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••e:     makes, or causes to be made, any statement in any application, report, or document required to be
         filed under this chapter or any rule or regulation thereunder or any undertaking contained in a
         registration statement as provided in subsection (d) of section 780 of this title, or by any self-
         regulatory organization in connection with an application for membership or participation therein or


 ••      to become associated with a member thereof which statement was false or misleading with respect
         to any material fact, shall upon conviction be fined not more than $5,000,000, or imprisoned not
         more than 20 years, or both, except that when such person is a person other than a natural person, a

 •·•     fine not exceeding $25,000,000 may be imposed; but no person shall be subject to imprisonment
         under this section for the violation of any rule or regulation if he proves that he had no knowledge
         of such rule or regulation .

••       (b) Failure to file information, documents, or reports
         Any issuer which fails to file information, documents, or reports required to be filed under

•·•      subsection (d) of section 780 of this title or any rule or regulation thereunder shall forfeit to the
         United States the sum of $100 for each and every day such failure to file shall continue. Such


 •·•·
         forfeiture, which shall be in lieu of any criminal penalty for such failure to file which might be
         deemed to arise under subsection (a) of this section, shall be payable into the Treasury of the United
         States and shall be recoverable in a civil suit in the name of the United States.


••       (c) Violations by issuers, officers, directors, stockholders, employees, or agents of issuers



•·•      (1)

         (A)Any issuer that violates subsection (a) or (g) of section 78dd-1 of this title shall be fined not

 ••      more than $2,000,000.
         (B)Any issuer that violates subsection (a) or (g) of section 78dd-1 of this title shall be subject to a


  ••
         civil penalty of not more than $10,000 imposed in an action brought by the Commission.

         (2)


••       (A) Any officer, director, employee, or agent of an issuer, or stockholder acting on behalf of such
         issuer, who willfully violates subsection (a) or (g) of section 78dd-1 of this title shall be fined not


  ••     more than $100,000, or imprisoned not more than 5 years, or both .

         (B) Any officer, director, employee, or agent of an issuer, or stockholder acting on behalf of such

   ••    issuer, who violates subsection (a) or (g) of section 78dd---l of this title shall be subject to a civil
         penalty of not more than $10,000 imposed in an action brought by the Commission.


  ••     (3) Whenever a fine is imposed urn;ler paragraph (2) upon any officer, director, employee, agent, or
         stockholder of an issuer, such fine may not be paid, directly or indirectly, by such issuer.


    ••   (June 6, 1934, ch. 404, title I,§ 32, 48 Stat. 904; May 27, 1936, ch. 462, § 9, 49 Stat. 1380; June 25,
         1938, ch. 677, § 4, 52 Stat. 1076; Pub. L. 88--467, § 11, Aug. 20, 1964, 78 Stat. 580; Pub. L. 94-29,



•••      §§ 23, 27(b), June 4, 1975, 89 Stat. 162, 163; Pub. L. 95-213, title I,§ 103(b), Dec. 19, 1977, 91
         Stat. 1496; Pub. L. 98-376, § 3, Aug. 10, 1984, 98 Stat. 1265; Pub. L. 100--418, title V, § 5003(b),
         Aug. 23, 1988, 102 Stat. 1419; Pub. L. 100-704, § 4, Nov. 19, 1988, 102 Stat. 4680; Pub. L. 105-
         366, § 2(d), Nov. 10, 1998, 112 Stat. 3303; Pub. L. 107-204, title XI, § 1106, July 30, 2002, 116


 ••
         Stat. 810.)



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